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                                                                                                Hallmark Tifle Company      '
                                                                                                100 Bluegrass Commons Blvd.                      EXHIBIT "D"
                                                                                                Suite 115
RECORDATION REQUESTED BY:
     American Security Bank and Trust                                                           Hendersonvtne,lN37075
     101 Sprlnghouae Court
     Henderaonvllle, TN 37075

WHEN RECORDED MAIL TO:
     American Security Bank and Trust
     101 Sprlnghouae Court
     Henderaonvllle, TN 37075
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SEND TAX NOTICES TO:                                                             Total.:      311.58                 in
     American Security Bank and Trust                                                                    Record Boak 3017 Pga 10-18
     101 Sprlnghou,e Court
     Henderaonvllle, TN 37075

OWNER:
     John R Wiiiiama
     Carlyn R Wllllama
     119 Tara Ln
     Goodlettavm, IN      31012                                                                               FOR RECORDER'S USE ONLY

Thia Deed of Trust prepared by:

                                                  Name: Kandice Wells, Consumer Loan Officer
                                                  Company: American Security Bank and Trust
                                                  Addre11: 101 Sprlnghouaa Court
                                                  City, State, ZIP: Henderaonvllla, TN 37076




                                                        DEED OF TRUST
                                              THIS IS AN OPEN-END MORTGAGE
MAXIMUM PRINCIPAL                   INDEBTEDNESS             FOR      TENNESSEE            RECORDING           TAX     PURPOSES             IS
$231,200.00.
MAXIMUM LIEN. NOTWITHSTANDING THE MAXIMUM PRINCIPAL INDEBTEDNESS STATED HEREIN,
GRANTOR HAS THE RIGHT TO REDUCE THE MAXIMUM CREDIT LIMIT SO LONG AS THE REDUCED
AMOUNT IS EQUAL TO OR EXCEEDS THE OUTSTANDING BALANCE UNDER THE CREDIT
AGREEMENT AT THE TIME OF SUCH REQUEST. If Grantor wishes to reduce the limit on the maximum
amount of principal indebtedness to be secured under this Deed of Trust, Grantor must send Lender a
notice of limitation and, on or before the effective date of the notice, file a copy of the notice for
recordation in the appropriate register's office as an amendment to the Deed of Trust. Lender has the
right, upon receipt of such notice, to send Grantor a notice which requires Grantor to return to Lender
any checks, credit cards or other access devices. The maximum limit on the total amount of principal
Indebtedness secured by this Deed of Trust at any time Is $231,200.00.
THIS DEED OF TRUST Is dated September 9, 2008, among John R Williams and Carlyn R Williams,
whose address is 119 Tara Ln, Goodlettsville, TN 37072 ("Grantor"); American Security Bank and
Trust, whose address la 101 Sprlnghouae Court, Hendersonville, TN 37075 (referred to below
sometimes as "Lender" and sometimes as "Beneficiary"); and Mark D. Thomas, whose address is 101
Springhouae Court, Hendersonville, TN 37075 (referred to below 88 "Trustee").
CONVEYANCE AND GRANT. For and In consideration of Five Dollars ($6.00) cash In hand paid, and other good and valuable
conalderetlon, the receipt and sufficiency of which are hereby acknowledged, Grantor has bargained and sold, and doaa hereby
bargain, sell, convey and confirm unto the Trustee In trust, with Power of Sala, for the benefit of Lender as Banaflclary, all of
Grantor's right, title, and interest in and to the following described real property, together with all existing or subsequently
erected or affixed buildings, improvements and fixtures; all easements, rights of way, and appurtenances; all water, water rights
and ditch rights (including stock in utilities with ditch or irrigation rights); and all other rights, royalties, and profits relating to the
real property, including without limitation all minerals, oil, gas, geothermal and similar matters, (the "Real Property")
located in Sumner County, State of Tennessee:
     See Exhibit A, which is attached to this Deed of Trust and made a part of this Deed of Trust                                      88   if
     fully set forth herein.
The Real Property or its address is commonly known as 1 19 Tara Ln, Goodlettsville, TN 37072.
CROSS-COLLATERALIZATION. In addition to the Credit Agreement, this Deed of Trust secures all obligations, debts and
 liabilities, plus interest thereon, of either Grantor or Borrower to Lender, or any one or more of them, as well as all claims by
 Lender against Borrower and Granter or any one or more of them, whether now existing or hereafter arising, w,hether related or
unrelated to the purpose of the Credit Agreement, whether voluntary or otherwise, whether due or not due, direct or indirect,
determined or undetermined, absolute or contingent, liquidated or unliquidated, whether Borrower or Granter may be liable
individually or jointly with others, whether obligated as guarantor, surety, accommodation party or otherwise, and whether
recovery upon such amounts may be or hereafter may become barred by any statute of limitations, and whether the obligation to
repay such amounts may be or hereafter may become otherwise unenforceable.
REVOLVING LINE OF CREDIT. This Deed of Trust secures the Indebtedness Including, without limitation, a revolving line of
credit, which obllgataa Lender to make advances to Borrower up to the maximum principal Indebtedness of $231,200.00 so long
as Borrower compiles with all the terms of the Credit Agreement. Such advancaa may be made, repaid, and remade from time to
time, subject to the limitation that the total outstanding balance owing at any one time, not Including finance charges on such
balance at a fixed or varlable rate or sum as provided In the Credit Agreement, any temporary overages, other charges, and any
amounts expended or advanced as provided In either the lndebtedne11 paragraph or this paragraph, shall not exceed the Credit




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Limit aa provided In the Credit Agreement. It 11 the Intention of Grantor and Lender that this Deed of Trust 1ecurH the balance
outstanding under the Credit Agreement from time to time from zero up to the Credit Limit aa provided In the Credit Agreement
and any Intermediate balance. The lnltlal advance under the term, of the Credit Agreement 11 to be applied toward the purchaae
of the Property.
DURATION OF CREDIT AGREEMENT. The duration of the open-end Credit Agreement is 180 (one hundred eighty) months.
Granter presently assigns to Lender (also known as Beneficiary in this Deed of Trust) all of Grantor's right, title, and interest in
and to all present and future leases of the Property and all Rents from the Property. In addition, Granter grants to Lender a
Uniform Commercial Code security interest in the Personal Property and Rents.
THIS DEED OF TRUST, INCLUDING THE ASSIGNMENT OF RENTS                     AND THE SECURITY INTEREST IN THE RENTS AND
PERSONAL PROPERTY, IS GIVEN TO SECURE IA) PAYMENT OF THE                  INDEBTEDNESS AND (Bl PERFORMANCE OF EACH OF
GRANTOR'S AGREEMENTS AND OBLIGATIONS UNDER THE CREDIT                     AGREEMENT, THE RELATED DOCUMENTS, AND THIS
DEED OF TRUST. THIS DEED OF TRUST IS GIVEN AND ACCEPTED ON                 THE FOLLOWING TERMS:
GRANTOR'S REPRESENTATIONS AND WARRANTIES. Granter warrants that: (al this Deed of Trust is executed at Borrower's
request and not at the request of Lender; (bl Granter has the full power, right, and authority to enter into this Deed of Trust and
to hypothecate the Property; (cl the provisions of this Deed of Trust do not conflict with, or result in a default under any
agreement or other instrument binding upon Granter and do not result in a violation of any law, regulation, court decree or order
applicable to Granter; (di Grantor has established adequate means of obtaining from Borrower on a continuing basis information
about Borrower's financial condition; and (el Lender has made no representation to Granter about Borrower (including without
limitation the creditworthiness of Borrower).
 GRANTOR'S WAIVERS. Grantor waives all rights or defenses arising by reason of any "one action" or "anti-deficiency" law, or
.any other law which may prevent Lender from bringing any action against Granter, including a claim for deficiency to the extent
 Lender is otherwise entitled to a claim for deficiency, before or after Lender's commencement or completion of any foreclosure
 action, either judicially or by exercise of a power of sale.
PAYMENT AND PERFORMANCE. Except as otherwise provided in this Deed of Trust, Borrower and Grantor shall pay to Lender
all Indebtedness secured by this Deed of Trust as it becomes due, and Borrower and Granter shall strictly perform all their
respective obligations under the Credit Agreement, this Deed of Trust, and the Related Documents.
POSSESSION AND MAINTENANCE OF THE PROPERTY. Borrower and Grantor agree that Borrower's and Grantor's possession
and use of the Property shall be governed by the following provisions:
     Po11e11lon and Use. Until the occurrence of an Event of Default, Granter may (11 remain in possession and control of the
     Property; (2) use, operate or manage the Property; and (31 collect the Rents from the Property.
     Duty to Maintain. Grantor shall maintain the Property in good condition and promptly perform all repairs, replacements, and
     maintenance necessary to preserve its value.
     Compllance With Environmental Law,. Granter represents and warrants to Lender that: (1) During the period of Grantor's
     ownership of the Property, there has been no use, generation, manufacture, storage, treatment, disposal, release or
     threatened release of any Hazardous Substance by any person on, under, about or from the Property; (21 Grantor has no
     knowledge of, or reason to believe that there has been, except as previously disclosed to and acknowledged by Lender in
     writing, (al any breach or violation of any Environmental Laws, (bl any use, generation, manufacture, storage, treatment,
     disposal, release or threatened release of any Hazardous Substance on, under, about or from the Property by any prior
     owners or occupants of the Property, or (cl any actual or threatened litigation or claims of any kind by any person relating
     to such matters; and (31 Except as previously disclosed to and acknowledged by Lender in writing, (al neither Granter nor
     any tenant, contractor, agent or other authorized user of the Property shall use, generate, manufacture, store, treat, dispose
     of or release any Hazardous Substance on, under, about or from the Property; and (bl any such activity shall be conducted
     in compliance with all applicable federal, state, and local laws, regulations and ordinances, including without limitation all
     Environmental Laws. Grantor authorizes Lender and its agents to enter upon the Property to make such inspections and
     tests, at Grantor's expense, as Lender may deem appropriate to determine compliance of the Property with this section of
     the Deed of Trust. Any inspections or tests made by Lender shall be for Lender's purposes only and shall not be construed
     to create any responsibility or liability on the part of Lender to Granter or to any other person. The representations and
     warranties contained herein are based on Grantor's due diligence in investigating the Property for Hazardous Substances.
     Granter hereby ( 1 l releases and waives any future claims against Lender for indemnity or contribution in the event Granter
     becomes liable for cleanup or other costs under any such laws; and (21 agrees to indemnify, defend, and hold harmless
     Lender against any and all claims, losses, liabilities, damages, penalties, and expenses which Lender may directly or
     indirectly sustain or suffer resulting from a breach of this section of the Deed of Trust or as a consequence of any use,
     generation, manufacture, storage, disposal, release or threatened release occurring prior to Grantor's ownership or interest in
     the Property, whether or not the same was or should have been known to Granter. The provisions of this section of the
     Deed of Trust, including the obligation to indemnify and defend, shall survive the payment of the Indebtedness and the
     satisfaction and reconveyance of the lien of this Deed of Trust and shall not be affected by Lender's acquisition of any
     interest in the Property, whether by foreclosure or otherwise.
     Nuisance, Waste. Granter shall not cause, conduct or permit any nuisance nor commit, permit, or suffer any stripping of or
     waste on or to the Property or any portion of the Property. Without limiting the generality of the foregoing, Granter will not
     remove, or grant to any other party the right to remove, any timber, minerals (including oil and gas), coal, clay, scoria, soil,
     gravel or rock products without Lender's prior written consent.
     Removal of Improvement,. Grantor shall not demolish or remove any Improvements from the Real Property without Lender's
     prior written consent. As a condition to the removal of any Improvements, Lender may require Granter to make
     arrangements satisfactory to Lender to replace such Improvements with Improvements of at least equal value.
     Lender's Right to Enter. Lender and Lender's agents and representatives may enter upon the Real Property at all reasonable
     times to attend to Lender's interests and to inspect the Real Property for purposes of Grantor's compliance with the terms
     and conditions of this Deed of Trust.
     Compliance with Governmental Requirement,. Granter shall promptly comply with a11 · 1aws, ordinances, and regulations,
     now or hereafter in effect, of all governmental authorities applicable to the use or occupancy of the Property. Grantor may
     contest in good faith any such law, ordinance, or regulation and withhold compliance during any proceeding, including
     appropriate appeals, so long as Granter has notified Lender in writing prior to doing so and so long as, in Lender's sole
     opinion, Lender's interests in the Property are not jeopardized. Lender may require Granter to post adequate security or a
     surety bond, reasonably satisfactory to Lender, to protect Lender's interest.
     Duty to Protect. Granter agrees neither to abandon or leave unattended the Property. Grantor shall do all other acts, in
     addition to those acts set forth above in this section, which from the character and use of the Property are reasonably
     necessary to protect and preserve the Property.
DUE ON SALE· CONSENT BY LENDER. Lender may, at Lender's option, declare immediately due and payable all sums secured
by this Deed of Trust upon the sale or transfer, without Lender's prior written consent, of all or any part of the Real Property, or
any interest in the Real Property. A "sale or transfer" means the conveyance of Real Property or any right, title or interest in the




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Real Property; whether legal, beneficial or equitable; whether voluntary or involuntary; whether by outright sale, deed, installment
sale contract, land contract, contract for deed, leasehold interest with a term greater than three (3) years, lease-option contract,
or by sale, assignment, or transfer of any beneficial interest in or to any land trust holding title to the Real Property, or by any
other method of conveyance of an interest in the Real Property. However, this option shall not be exercised by Lender If such
exercise is prohibited by federal law or by Tennessee law.
TAXES AND LIENS. The following provisions relating to the taxes and liens on the Property are part of this Deed of Trust:
    Payment. Grantor shall pay when due (and in all events prior to delinquency) all taxes, special taxes, assessments, charges
    (including water and sewer), fines and impositions levied against or on account of the Property, and shall pay when due all
    claims for work done on or for services rendered or material furnished to the Property. Granter shall maintain the Property
    free of all liens having priority over or equal to the interest of Lender under this Deed of Trust, except for the lien of taxes
    and assessments not due and except as otherwise provided in this Deed of Trust.
    Right to Conteat. Grantor may withhold payment of any tax, assessment, or claim in connection with a good faith dispute
    over the obligation to pay, so long as Lender's interest in the Property is not jeopardized. If a lien arises or is filed as a result
    of nonpayment, Granter shall within fifteen (15) days after the lien arises or, if a lien is filed, within fifteen (15) days after
    Grantor has notice of the filing, secure the discharge of the lien, or if requested by Lender, deposit with Lender cash or a
    sufficient corporate surety bond or other security satisfactory to Lender in an amount sufficient to discharge the lien plus any
    costs and attorneys' fees, or other charges that could accrue es a result of a foreclosure or sale under the lien. In any
    contest, Granter shall defend itself and Lender and shall satisfy any adverse judgment before enforcement against the
    Property. Granter shall name Lender as an additional obligee under any surety bond furnished in the contest proceedings.
    Evidence of Payment. Granter shall upon demand furnish to Lender satisfactory evidence of payment of the taxes or
    assessments and shall authorize the appropriate governmental official to deliver to Lender at any time a written statement of
    the taxes and assessments against the Property.
    Notice of Construction. Granter shall notify Lender at least fifteen (15) days before any work is commenced, any services
    are furnished, or any materials are supplied to the Property, if any mechanic's lien, materialmen's lien, or other lien could be
    asserted on account of the work, services, or materials and the cost exceeds $1,000.00. Granter will upon request of
    Lender furnish to Lender advance assurances satisfactory to Lender that Granter can and will pay the cost of such
    improvements.
PROPERTY DAMAGE INSURANCE. The following provisions relating to insuring the Property are a part of this Deed of Trust.
    Maintenance of Insurance. Granter shall procure and maintain policies of fire insurance with standard extended coverage
    endorsements on a fair value basis for the full insurable value covering all Improvements on the Real Property in an amount
    sufficient to avoid application of any coinsurance clause, and with a standard mortgagee clause in favor of Lender, together
    with such other hazard and liability insurance as Lender may reasonably require. Policies shall be written in form, amounts,
    coverages and basis reasonably acceptable to Lender and issued by a company or companies reasonably acceptable to
    Lender. Granter, upon request of Lender, will deliver to Lender from time to time the policies or certificates of insurance in
    form satisfactory to Lender, including stipulations that coverages will not be cancelled or diminished without at least ten ( 10)
    days prior written notice to Lender. Each insurance policy also shall include an endorsement providing that coverage in favor
    of Lender will not be impaired in any way by any act, omission or default of Granter or any other person. Should the Real
    Property be located in an area designated by the Director of the Federal Emergency Management Agency as a spacial flood
    hazard area, Granter agrees to obtain and maintain Federal Flood Insurance, if available, within 45 days after notice is given
    by Lender that the Property is located in a special flood hazard area, for the maximum amount of your credit line and the full
    unpaid principal balance of any prior liens on the property securing the loan, up to the maximum policy limits set under the
    National Flood Insurance Program, or as otherwise required by Lender, and to maintain such insurance for the term of the
    loan.
    Application of Proceeds. Granter shall promptly notify Lender of any loss or damage to the Property if the estimated cost of
    repair or replacement exceeds $1,000.00. Lender may make proof of loss if Granter fails to do so within fifteen ( 151 days
    of the casualty. Whether or not Lender's security is impaired, Lender may, at Lender's election, receive and retain the
    proceeds of any insurance and apply the proceeds to the reduction of the Indebtedness, payment of any lien affecting the
    Property, or the restoration and repair of the Property. If Lender elects to apply the proceeds to restoration and repair,
    Granter shall repair or replace the damaged or destroyed Improvements in a manner satisfactory to Lender. Lender shall,
    upon satisfactory proof of such expenditure, pay or reimburse Granter from the proceeds for the reasonable cost of repair or
    restoration if Granter is not in default under this Deed of Trust. Any proceeds which have not been disbursed within 180
    days after their receipt and which Lender has not committed to the repair or restoration of the Property shall ba used first to
    pay any amount owing to Lender under this Deed of Trust, then to pay accrued interest, and the remainder, if any, shall be
    applied to the principal balance of the Indebtedness. If Lender holds any proceeds after payment in full of the Indebtedness,
    such proceeds shall be paid to Granter as Grantor's interests may appear.
    CompHance with Existing lndebtedne11. During the period in which any Existing Indebtedness described below is in effect,
    compliance with the insurance provisions contained in the instrument evidencing such Existing Indebtedness shall constitute
    compliance with the insurance provisions under this Deed of Trust, to the extent compliance with the terms of this Deed of
    Trust would constitute e duplication of insurance requirement. If any proceeds from the insurance become payable on loss,
    the provisions in this Deed of Trust for division of proceeds shall apply only to that portion of the proceeds not payable to
    the holder of the Existing Indebtedness.
LENDER'S EXPENDITURES. If Granter fails (Al to keep the Property free of all taxes, liens, security interests, encumbrances,
and other claims, (Bl to provide any required insurance on the Property, (Cl to make repairs to the Property or to comply with
any obligation to maintain Existing Indebtedness in good standing as required below, then Lender may do so. If any action or
proceeding is commenced that would materially affect Lender's interests in the Property, then Lender on Grantor's behalf may,
but is not required to, take any action that Lender believes to be appropriate to protect Lender's interests. All expanses incurred
or paid by Lender for such purposes will then bear interest at the rate charged under the Credit Agreement from the date incurred
or paid by Lender to the date of repayment by Granter. All such expenses will become a part of the Indebtedness and, at
Lender's option, will (A) be payable on demand; (B) be added to the balance of the Credit Agreement and ba apportioned
among and ba payable with any installment payments to become due during either (11 the term of any applicable Insurance
policy; or (2) the remaining term of the Credit Agreement; or (C) ba treated as a balloon payment which will ba due and
payable at the Credit Agreement's maturity. The Deed of Trust also will secure payment of these amounts. The rights provided
for in this paragraph shall be in addition to any other rights or any remedies to which Lender may be entitled on account of any
default. Any such action by Lender shall not be construed as curing the default so as to bar Lender from any remedy that it
otherwise would have had.
WARRANTY; DEFENSE OF TITLE. The following provisions relating to ownership of the Property are a part of this Deed of Trust:
    Tltle. Granter warrants that: (a) Grantor holds good and marketable title of record to the Property in fee simple, free and
    clear of all liens and encumbrances other than those set forth in the Real Property description or in the Existing Indebtedness
    section below or in any title insurance policy, title report, or final title opinion issued in favor of, and accepted by, Lender in
    connection with this Deed of Trust, and (b) Granter has the full right, power, and authority to execute and deliver this Deed
    of Trust to Lender.




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    Defen1e of Title. Subject to the exception in the paragraph above, Granter warrants and will forever defend the title to the
    Property against the lawful claims of all persons. In the event any action or proceeding is commenced that questions
    Grantor's title or the interest of Trustee or Lender under this Deed of Trust, Granter shall defend the action at Grantor's
    expense. Granter may be the nominal party in such proceeding, but Lender shall be entitled to participate in the proceeding
    and to be represented in the proceeding by counsel of Lender's own choice, and Granter will deliver, or cause to be
    delivered, to Lender such instruments as Lender may request from time to time to permit such participation.
    CompR1nce With Lew,. Grantor warrants that the Property and Grantor's use of the Property complies with all existing
    applicable laws, ordinances, and regulations of governmental authorities.
    Survival of Proml111. All promises, agreements, and statements Granter has made in this Deed of Trust shall survive the
    execution and delivery of this Deed of Trust, shall be continuing in nature and shall remain in full force and effect until such
    time as Borrower's Indebtedness is paid in full.
EXISTING INDEBTEDNESS. The following provisions concerning Existing Indebtedness are a part of this Deed of Trust:
    Existing Lien. The lien of this Deed of Trust securing the Indebtedness may be secondary and inferior to an existing lien.
    Granter expressly covenants and agrees to psy, or see to the payment of, the Existing Indebtedness and to prevent any
    default on such indebtedness, any default under the instruments evidencing such indebtedness, or any default under any
    security documents for such indebtedness.
    No Modification. Grantor shall not enter into any agreement with the holder of any mortgage, deed of trust, or other security
    agreement which has priority over this Deed of Trust by which that agreement is modified, amended, extended, or renewed
    without the prior written consent of Lender. Grantor shall neither request nor accept any future advances under any such
    security agreement without the prior written consent of Lender.
CONDEMNATION. The following provisions relating to condemnation proceedings are a part of this Deed of Trust:
    Proceedings. If any proceeding in condemnation is filed, Grantor shall promptly notify Lender in writing, and Grantor shall
    promptly take such steps as may be necessary to defend the action and obtain the award. Grantor may be the nominal
    party in such proceeding, but Lender shall be entitled to participate in the proceeding and to be represented in the proceeding
    by counsel of its own choice, and Grantor will deliver or cause to be delivered to Lender such instruments and
    documentation as may be requested by Lender from time to time to permit such participation.
    Appllcatlon of Net Proceeds. If all or any part of the Property is condemned by eminent domain proceedings or by any
    proceeding or purchase in lieu of condemnation, Lender may at its election require that all or any portion of the net proceeds
    of the award be applied to the Indebtedness or the repair or restoration of the Property. The net proceeds of the award shall
    mean the award after payment of all reasonable costs, expenses, and attorneys' fees incurred by Trustee or Lender in
    connection with the condemnation.
IMPOSITION OF TAXES, FEES AND CHARGES BY GOVERNMENTAL AUTHORITIES.                           The following provisions relating to
governmental taxes, fees and charges are a part of this Deed of Trust:
    Current Taxea, Feea and Chargea. Upon request by Lender, Granter shall execute such documents in addition to this Deed
    of Trust and take whatever other action is requested by Lender to perfect and continue Lender's lien on the Real Property.
    Grantor shall reimburse Lender for all taxes, as described below, together with all expenses incurred in recording, perfecting
    or continuing this Deed of Trust, including without limitation all taxes, fees, documentary stamps, and other charges for
    recording or registering this Deed of Trust.
    Taxea. The following shall constitute taxes to which this section applies: (1) a specific tax upon this type of Deed of Trust
    or upon all or any part of the Indebtedness secured by this Deed of Trust; (2) a specific tax on Borrower which Borrower is
    authorized or required to deduct from payments on the Indebtedness secured by this type of Deed of Trust; (3) a tax on
    this type of Deed of Trust chargeable against the Lender or the holder of the Credit Agreement; and (4) a specific tax on all
    or any portion of the Indebtedness or on payments of principal and interest made by Borrower.
    Sub11quent Taxea. If any tax to which this section applies is enacted subsequent to the date of this Deed of Trust, this
    event shall have the same effect as an Event of Default, and Lender may exercise any or all of its available remedies for an
    Event of Default as provided below unless Grantor either ( 1) pays the tax before it becomes delinquent, or (2) contests
    the tax as provided above in the Taxes and Liens section and deposits with Lender cash or a sufficient corporate surety bond
    or other security satisfactory to Lender.
SECURITY AGREEMENT; FINANCING STATEMENTS.                The following provisions relating to this Deed of Trust as a security
agreement are a part of this Deed of Trust:
    Security Agreement. This instrument shall constitute a Security Agreement to the extent any of the Property constitutes
    fixtures, and Lender shall have all of the rights of a secured party under the Uniform Commercial Code as amended from
    time to time.
    Security lntereat. Upon request by Lender, Grantor shall take whatever action is requested by Lender to perfect and
    continue Lender's security interest in the Personal Property. In addition to recording this Deed of Trust in the real property
    records, Lender may, at any time and without further authorization from Granter, file executed counterparts, copies or
    reproductions of this Deed of Trust as a financing statement. Grantor shall reimburse Lender for all expenses incurred in
    perfecting or continuing this security interest. Upon default, Grantor shall not remove, sever or detach the Personal Property
    from the Property. Upon default, Granter shall assemble any Personal Property not affixed to the Property in a manner and
    at a place reasonably convenient to Granter and Lender and make it available to Lender within three (3) days after receipt of
    written demand from Lender to the extent permitted by applicable law.
    Addr11111. The mailing addresses of Granter (debtor) and Lender (secured party) from which information concerning the
    security interest granted by this Deed of Trust may be obtained (each as required by the Uniform Commercial Code) are as
    stated on the first page of this Deed of Trust.
FURTHER ASSURANCES; ATTORNEY-IN-FACT. The following provisions relating to further assurances and attorney-in-fact are a
part of this Deed of Trust:
    Further A11uranc11. At any time, and from time to time, upon request of Lender, Grantor will make, execute and deliver, or
    will cause to be made, executed or delivered, to Lender or to Lender's designee, and when requested by Lender, cause to be
    filed, recorded, refiled, or rerecorded, as the case may be, at such times and in such offices and places as Lender may deem
    appropriate, any and all such mortgages, deeds of trust, security deeds, security agreements, financing statements,
    continuation statements, instruments of further assurance, certificates, and other documents as may, in the sole opinion of
    Lender, be necessary or desirable in order to effectuate, complete, perfect, continue, or preserve (1)         Borrower's and
    Grantor's obligations under the Credit Agreement, this Deed of Trust, and the Related Documents, and (2) the liens and
    security interests created by this Deed of Trust as first and prior liens on the Property, whether now owned or hereafter
    acquired by Granter. Unless prohibited by law or Lender agrees to the contrary in writing, Grantor shall reimburse Lender for
    all costs and expenses incurred in connection with the matters referred to in this paragraph.
    Attorney-In-Fact. if Grantor fails to do any of the things referred to in the preceding paragraph, Lender may do so for and in




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    the name of Granter and at Grantor's expense. For such purposes, Granter hereby irrevocably appoints Lender as Grantor's
    attorney-in-fact for the purpose of making, executing, delivering, filing, recording, and doing all other things as may be
    necessary or desirable, in Lender's sole opinion, to accomplish the matters referred to in the preceding paragraph.
FULL PERFORMANCE. If Granter shall well and truly pay and perform the obligations at the time and times, and in the manner
mentioned in this Deed of Trust, and shall well and truly abide by and comply with each and every term, covenant and condition
set forth in this Deed of Trust, then this conveyance shall be and become null and void and the Trustee shall convey the Property
to the Granter by release deed at Grantor's expense.
EVENTS OF DEFAULT. Granter will be in default under this Deed of Trust if any of the following happen: (Al Granter commits
fraud or makes a material misrepresentation at any time in connection with the Credit Agreement. This can include, for example,
a false statement about Borrower's or Grantor's income, assets, liabilities, or any other aspects of Borrower's or Grantor's
financial condition. (Bl Borrower does not meet the repayment terms of the Credit Agreement. (C) Grantor's action or inaction
adversely affects the collateral or Lender's rights in the collateral. This can include, for example, failure to maintain required
insurance, waste or destructive use of the dwelling, failure to pay taxes, death of all persons liable on the account, transfer of
title or sale of the dwelling, creation of a senior lien on the dwelling without Lender's permission, foreclosure by the holder of
another lien, or the use of funds or the dwelling for prohibited purposes.
RIGHTS AND REMEDIES ON DEFAULT. If an Event of Default occurs under this Deed of Trust, at any time thereafter, Trustee or
Lender may exercise any one or more of the following rights and remedies:
    Electlon of Remedies. All of Lender's rights and remedies will be cumulative and may be exercised alone or together. An
    election by Lender to choose any one remedy will not bar Lender from using any other remedy. If Lender decides to spend
    money or to perform any of Grantor's obligations under this Deed of Trust, after Grantor's failure to do so, that decision by
    Lender will not affect Lender's right to declare Grantor in default and to exercise Lender's remedies.
    Accelerate lndebtedne11. Lender shall have the right at its option without notice to Borrower or Granter, the same being
    expressly waived, to declare the entire Indebtedness immediately due and payable.
    Foreclosure. With respect to all or any part of the Real Property, (a) the Trustee, at the Lender's request, shall have the
    right to enter and take possession of the Real Property and to sell all or part of the Real Property, at public auction, to the
    highest bidder for cash, free from equity of redemption, and any statutory or common law right of redemption, homestead,
    dower, marital share, and all other exemptions, after giving notice of the time, place and terms of such sale and of the Real
    Property to be sold as required by law, or (b) the Trustee or the Lender shall have the right to foreclose by judicial
    proceeding, in accordance with and to the full extent provided by applicable law.
    UCC Remedies. With respect to all or any part of the Personal Property, Lender shall have all the rights and remedies of a
    secured party under the Uniform Commercial Code.
    Collect Rents. Lender shall have the right, without notice to Borrower or Granter to take possession of and manage the
    Property and collect the Rents, including amounts past due and unpaid, and apply the net proceeds, over and above Lender's
    costs, against the Indebtedness. In furtherance of this right, Lender may require any tenant or other user of the Property to
    make payments of rent or use fees directly to Lender. If the Rents are collected by Lender, then Granter irrevocably
    designates Lender as Grantor's attorney-in-fact to endorse instruments received in payment thereof in the name of Granter
    and to negotiate the same and collect the proceeds. Payments by tenants or other users to Lender in response to Lender's
    demand shall satisfy the obligations for which the payments are made, whether or not any proper grounds for the demand
    existed. Lender may exercise its rights under this subparagraph either in person, by agent, or through a receiver.
    Appoint Receiver. Lender shall have the right to make application to a court of competent jurisdiction to have a receiver
    appointed to take possession of all or any part of the Property, with the power to protect and preserve the Property, to
    operate the Property prior to foreclosure or sale, and to collect the Rents from the Property and apply the proceeds, over and
    above the cost of the receivership, against the Indebtedness. Lender shall have the right to have a receiver appointed to
    take possession of all or any part of the Property, with the power to protect and preserve the Property, to operate the
    Property preceding foreclosure or sale, and to collect the Rents from the Property and apply the proceeds, over and above
    the cost of the receivership, against the Indebtedness. The receiver may serve without bond if permitted by law. Lender's
    right to the appointment of a receiver shall exist whether or not the apparent value of the Property exceeds the Indebtedness
    by a substantial amount. Employment by Lender shall not disqualify a person from serving as a receiver.
    Tenancy at Sufferance. If Grantor remains in possession of the Property after the Property is sold as provided above or
    Lender otherwise becomes entitled to possession of the Property upon default of Grantor, Granter shall become a tenant at
    sufferance of Lender or the purchaser of the Property and shall, at Lender's option, either (1) pay a reasonable rental for
    the use of the Property, or (2) vacate the Property immediately upon the demand of Lender.
    Other Remedies. Trustee or Lender shall have any other right or remedy provided in this Deed of Trust or the Credit
    Agreement or available at law or in equity.
    Notice of Sale. Lender shall give Granter reasonable notice of the time and place of any public sale of the Personal Property
    or of the time after which any private sale or other intended disposition of the Personal Property is to be made. Reasonable
    notice shall mean notice given at least ten (10) days before the time of the sale or disposition. Any sale of the Personal
    Property may be made in conjunction with any sale of the Real Property.
    Sele of the Property. To the extent permitted by applicable law, Borrower and Granter hereby waives any and all rights to
    have the Property marshalled, the equity of redemption, any statutory or common law right of redemption, homestead,
    dower, marital share and all other exemptions and other rights which might defeat, reduce or affect the right of the Lender
    to sell the Real Property or the Personal Property for the collection of the Indebtedness. Lender shall be entitled to collect all
    expenses incurred in pursuing the remedies provided in this paragraph, including but not limited to, reasonable attorneys'
    fees and costs of title evidence.
          If Lender invokes the power of sale, Trustee shall give notice of sale by public advertisement in the county in which the
    Property is located for the time and in the manner provided by applicable law, and Lender or Trustee shall mail a copy of the
    notice of sale to Borrower. Trustee, without demand on Borrower, shall sell the Property at public auction to the highest
    bidder at the time and under the terms designated in the notice of sale. Lender or its designee may purchase the Property at
    any sale.
         Trustee shall deliver to the purchaser Trustee's deed conveying that Real Property without any covenant or warranty,
    express or implied. The recitals in the Trustee's deed shall be prime facie evidence of the truth of the statements made
    therein. Trustee shall apply the proceeds of the sale in the following order: (a) to all expenses of the sale, including, but not
    limited to, reasonable Trustee's and attorneys' fees; (bl to all sums secured by this Security Instrument; and (cl any excess
    to the person or persons legally entitled to it. If the Property is sold pursuant to this paragraph, Borrower, or any person
    holding possession of the Real Property through Borrower, shall immediately surrender possession of the Real Property to the
    purchaser at the sale. If possession is not surrendered, Borrower or such person shall be a tenant at will of the purchaser
    and hereby agrees to pay the purchaser the reasonable rental value of the Real Property after sale.
    Attorney,• Fees; Expen111. If Lender institutes any suit or action to enforce any of the terms of this Deed of Trust, Lender
    shall be entitled to recover such sum as the court may adjudge reasonable as attorneys' fees at trial and upon any appeal.
    Whether or not any court action is involved, and to the extent not prohibited by law, all reasonable expenses Lender incurs




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     that in Lender's opinion are necessary at any time for the protection of its interest or the enforcement of its rights shall
     become a part of the Indebtedness payable on demand and shall bear interest at the Credit Agreement rate from the date of
     the expenditure until repaid. Expenses covered by this paragraph include, without limitation, however subject to any limits
     under applicable law, Lender's attorneys' fees and Lender's legal expenses, whether or not there is a lawsuit, including
     attorneys' fees and expenses for bankruptcy proceedings (including efforts to modify or vacate any automatic stay or
     injunction), appeals, and any anticipated post-judgment collection services, the cost of searching records, obtaining title
     reports (including foreclosure reports), surveyors' reports, and appraisal fees, title insurance, and fees for the Trustee, to the
     extent permitted by applicable law. Grantor also will pay any court costs, in addition to all other sums provided by law.
     Rights of Trustee. Trustee shall have all of the rights and duties of Lender as set forth in this section.
POWERS AND OBLIGATIONS OF TRUSTEE. The following provisions relating to the powers and obligations of Trustee are part
of this Deed of Trust:
     Powers of Trustee. In addition to all powers of Trustee arising as s matter of law, Trustee shall have the power to take the
     following actions with respect to the Property upon the written request of Lender and Grantor: (a) join in preparing and filing
     a map or plat of the Real Property, including the dedication of streets or other rights to the public; (bl join in granting any
     easement or creating any restriction on the Real Property; and (cl join in any subordination or other agreement affecting this
     Deed of Trust or the interest of Lender under this Deed of Trust.
     Indemnification of Trustee. Grantor agrees to indemnify Trustee for all reasonable costs, charges, and attorneys' fees
     incurred by Trustee if Trustee is made a party to or intervenes in any action or proceeding affecting the Property, the title to
     the Property, or the interest of the Trustee or the Lender under this Deed of Trust.
     Obllgatlon1 to Notify. Trustee shall not be obligated to notify any other party of a pending sale under any other trust deed or
     lien, or of any action or proceeding in which Grantor, Lender, or Trustee shall be a party, unless the action or proceeding is
     brought by Trustee.
     Trustee. Trustee shall meet all qualifications required for Trustee under applicable law. In addition to the rights and
     remedies set forth above, with respect to all or any part of the Property, the Trustee shall have the right to foreclose by
     notice and sale, and Lender will have the right to foreclose by judicial foreclosure, in either case in accordance with and to
     the full extent provided by applicable law. Trustee shall have the authority, in Trustee's discretion, to employ all proper
     agents and attorneys in the execution of Trustee's duties under this Deed of Trust and in conducting any sale made pursuant
     to the terms of this Deed of Trust and to pay for the services rendered by such agents and attorneys out of the proceeds of
     the sale of the Property. If no sale is made, or if the proceeds of the sale are insufficient to pay such agents and attorneys,
     then Grantor agrees to pay the cost of such services. The parties in interest hereby waive the necessity of Trustee making
     oath, filing inventory, or giving bond as security for the execution of this trust, as may be required by the laws of Tennessee.
     Succ111ora and A11lgns. In the event of the death, refusal, or of inability for any cause, on the part of Trustee named in
     this Deed of Trust, or of any successor trustee, to act at any time when action under the foregoing powers and trust may be
     required, or for any other reason satisfactory to Lender, Lender is authorized, either in Lender's own name or through an
     attorney or attorneys in fact appointed for that purpose, by written instrument duly registered, to name and appoint a
     successor or successors to execute this trust, such appointment to be evidenced by writing, duly acknowledged; and when
     such writing shall have been registered, the substituted trustee named therein shall thereupon be vested with all the right
     and title, and clothed with all the power of the Trustee named in this Deed of Trust and such like power of substitution shall
     continue so long as any part of the debt secured by this Deed of Trust remains unpaid.
NOTICES. Any notice required to be given under this Deed of Trust, including without limitation any notice of default and any
notice of sale shall be given in writing, and shall be effective when actually delivered, when actually received by telefacsimile
(unless otherwise required by law). when deposited with a nationally recognized overnight courier, or, if mailed, when deposited
in the United States mail, as first class, certified or registered mail postage prepaid, directed to the addresses shown near the
beginning of this Deed of Trust. All copies of notices of foreclosure from the holder of any lien which has priority over this Deed
of Trust shall be sent to Lender's address, as shown near the beginning of this Deed of Trust. Any person may change his or her
address for notices under this Deed of Trust by giving formal written notice to the other person or persons, specifying that the
purpose of the notice is to change the person's address. For notice purposes, Grantor agrees to keep Lender informed at all
times of Grantor's current address. Unless otherwise provided or required by law, if there is more than one Grantor, any notice
given by Lender to any Grantor is deemed to be notice given to all Grantors. It will be Grantor's responsibility to tell the others of
the notice from Lender.
MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Deed of Trust:
     Amendments. What is written in this Deed of Trust and in the Related Documents is Grantor's entire agreement with Lender
     concerning the matters covered by this Deed of Trust. To be effective, any change or amendment to this Deed of Trust
     must be in writing and must be signed by whoever will be bound or obligated by the change or amendment.
     Caption Headings. Caption headings in this Deed of Trust are for convenience purposes only and are not to be used to
     interpret or define the provisions of this Deed of Trust.
     Merger. There shall be no merger of the interest or estate created by this Deed of Trust with any other interest or estate in
     the Property at any time held by or for the benefit of Lender in any capacity, without the written consent of Lender.
     Governing Law. This Deed of Trust will be governed by federal law applicable to Lender and, to the extent not preempted by
     federal law, the laws of the State of Tanne11ee without regard to Its conflicts of law provisions. This Deed of Trust has
     been accepted by Lender In the State of Tenne11ee.
     Choice of Venue. If there is a lawsuit, Granter agrees upon Lender's request to submit to the jurisdiction of the courts of
     Sumner County, State of Tennessee.
     Joint and Several Llablllty. All obligations of Borrower and Grantor under this Deed of Trust shall be joint and several, and all
     references to Granter shall mean each and every Grantor, and all references to Borrower shall mean each and every
     Borrower. This means that each Granter signing below is responsible for all obligations in this Deed of Trust.
    No Waiver by Lender. Grantor understands Lender will not give up any of Lender's rights under this Deed of Trust unless
    Lender does so in writing. The fact that Lender delays or omits to exercise any right will not mean that Lender has given up
    that right. If Lender does agree in writing to give up one of Lender's rights, that does not mean Grantor will not have to
    comply with the other provisions of this Deed of Trust. Grantor also understands that if Lender does consent to a request,
    that does not mean that Grantor will not have to get Lender's consent again if the situation happens again. Granter further
    understands that just because Lender consents to one or more of Grantor's requests, that does not mean Lender will be
    required to consent to any of Grantor's future requests. Granter waives presentment, demand for payment, protest, and
    notice of dishonor.
    Severablllty. If a court finds that any provision of this Deed of Trust is not valid or should not be enforced, that fact by itself
    will not mean that the rest of this Deed of Trust will not be valid or enforced. Therefore, a court will enforce the rest of the
    provisions of this Deed of Trust even if a provision of this Deed of Trust may be found to be invalid or unenforceable.
    Succ111or1 and A11lgn1. Subject to any limitations stated in this Deed of Trust on transfer of Grantor's interest, this Deed




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    of Trust shall be binding upon and inure to the benefit of the parties, their successors and assigns. If ownership of the
    Property becomes vested in a person other than Grantor, Lender, without notice to Grantor, may deal with Grantor's
    successors with reference to this Deed of Trust and the Indebtedness by way of forbearance or extension without releasing
    Grantor from the obligations of this Deed of Trust or liability under the Indebtedness.
    Time 11 of the Es11nce. Time is of the essence in the performance of this Deed of Trust.
    Waive Jury. All partlea to thl1 Deed of Tru1t hereby waive the right to any Jury trlal In any action, proceeding, or
    counterclaim brought by any party against any other party.
    Ml1cell.aneou1 Waivers. Grantor waives all right of homestead, equity of redemption, statutory right of redemption, and
    relinquishes all other rights and exemptions of every kind, including, but not limited to, a statutory right to an elective share
    in the Property.
DEFINITIONS. The following words shall have the following meanings when used in this Deed of Trust:
    Beneficiary. The word "Beneficiary" means American Security Bank and Trust, and its successors and assigns.
    Borrower. The word "Borrower" means John R Williams and includes all co-signers and co-makers signing the Credit
    Agreement and all their successors and assigns.
    Cre�lt Afreement. The words "Credit Agreement" mean the credit agreement dated September 9, 2008, with credit
    limit O $231,200.00 from Borrower to Lender, together with all renewals of, extensions of, modifications of,
    refinancings of, consolidations of, and substitutions for the promissory note or agreement. NOTICE TO GRANTOR: THE
    CREDIT AGREEMENT CONTAINS A VARIABLE INTEREST RATE.
    Deed of Tru1t. The words "Deed of Trust" mean this Deed of Trust among Grantor, Lender, and Trustee, and includes
    without limitation all assignment and security interest provisions relating to the Personal Property and Rents.
    Environmental Laws. The words "Environmental Laws" mean any and all state, federal and local statutes, regulations and
    ordinances relating to the protection of human health or the environment, including without limitation the Comprehensive
    Environmental Response, Compensation, and Liability Act of 1980, as amended, 42 U.S.C. Section 9601, et seq.
    ("CERCLA"), the Superfund Amendments and Reauthorization Act of 1986, Pub. L. No. 99-499 ("SARA"). the Hazardous
    Materials Transportation Act, 49 U.S.C. Section 1801, et seq., the Resource Conservation and Recovery Act, 42 U.S.C.
    Section 6901, et seq., the Hazardous Waste Management Substances Act of 1998, T.C.A., 68-212-201, et seq., or other
    applicable state or federal laws, rules, or regulations adopted pursuant thereto.
    Event of Default. The words "Event of Default" mean any of the events of default set forth in this Deed of Trust in the
    events of default section of this Deed of Trust.
    Existing lndebtedne11. The words "Existing Indebtedness" mean the indebtedness described in the Existing Liens provision
    of this Deed of Trust.
    Grantor. The word "Grantor" means John R Williams and Carlyn R Williams.
    Hazardou1 Sub1tance1. The words "Hazardous Substances" mean materials that, because of their quantity, concentration
    or physical, chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the
    environment when improperly used, treated, stored, disposed of, generated, manufactured, transported or otherwise
    handled. The words "Hazardous Substances" are used in their very broadest sense and include without limitation any and
    all hazardous or toxic substances, materials or waste as defined by or listed under the Environmental Laws. The term
    "Hazardous Substances" also includes, without limitation, petroleum and petroleum by-products or any fraction thereof and
    asbestos.
    Improvement,. The word "Improvements" means all existing and future improvements, buildings, structures, mobile homes
    affixed on the Real Property, facilities, additions, replacements and other construction on the Real Property.
    lndebtedne11. The word "Indebtedness" means all principal, interest, and other amounts, costs and expenses payable under
    the Credit Agreement or Related Documents, together with all renewals of, extensions of, modifications of, consolidations of
    and substitutions for the Credit Agreement or Related Documents and any amounts expended or advanced by Lender to
    discharge Grantor's obligations or expenses incurred by Trustee or Lender to enforce Grantor's obligations under this Deed
    of Trust, together with interest on such amounts as provided in this Deed of Trust. Specifically, without limitation,
    Indebtedness includes all amounts that may be indirectly secured by the Cross-Collateralization provision of this Deed of
    Trust.
    Lender. The word "Lender" means American Security Bank and Trust, its successors and assigns. The words "successors
    or assigns" mean any person or company that acquires any interest in the Credit Agreement.
    Personal Property. The words "Personal Property" mean all equipment, fixtures, and other articles of personal property now
    or hereafter owned by Granter, and now or hereafter attached or affixed to the Real Property; together with all accessions,
    parts, and additions to, all replacements of, and all substitutions for, any of such property; and together with all proceeds
    (including without limitation all insurance proceeds and refunds of premiums) from any sale or other disposition of the
    Property.
    Property. The word "Property" means collectively the Real Property and the Personal Property.
    Real Property. The words "Real Property" mean the real property, interests and rights, as further described in this Deed of
    Trust.
    Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements,
    environmental agreements, guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages,
    and all other instruments, agreements and documents, whether now or hereafter existing, executed in connection with the
    Indebtedness.
    Rent,. The word "Rents" means all present and future rents, revenues, income, issues, royalties, profits. and other benefits
    derived from the Property.
    Trustee. The word "Trustee" means Mark D. Thomas, whose address is 101 Sprlnghouse Court, Hendersonville, TN
    37075 and any substitute or successor trustees.




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EACH GRANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS DEED OF TRUST, AND EACH GRANTOR
AGREES TO ITS TERMS.




                                                INDIVIDUAL ACKNOWLEDGMENT

STATE OF    Tennessee
                                                                                                 I SS
           S_UJDn
COUNTY OF __ __e_r                                                   _                           I

                Personally appeared before me,         Rebecca Campbell                              , a Notary Public in and
for said State and County, John R Wllllem, end Carlyn R Wllllam,. Hu1band end Wife, the within-named bargainers, with whom I
am personally acquainted (or proved to me on the basis of satisfactory evidence), and who acknowledged that they executed the
foregoing instrument for the purposes therein contained.

     WITNESS my hand end ,eel at office, on the                                          9_t_h          day of   September   .20�




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                                                EXHIBIT A
Land located in the 6th Civil District of Sumner County, Tennessee and being Unit 4-B of THE VINEYARD AT
TWELVE STONES CROSSING, A HORIZONTAL PROPERTY REGIME WITH PRIVATE ELEMENTS,
WHICH IS A PLANNED UNIT DEVELOPMENT, created under Title 66, Chapter 27, Section 103(b) Tennessee
Code Annotated, and as established by Declaration of Covenants, Conditions and Restrictions for The Vineyard at
Twelve Stones Crossing, of record in Record Book 2364, Page 146, Register's Office for Sumner County,
Tennessee, reference is hereby made to the Plat of The Vineyard at Twelve Stones Crossing set forth in Exhibit C of
said Declaration for the locate of the Unit described herein.

Being te same property conveyed to the grantor by deed of record in Book                 _..,..3"-'0=c. 7.
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---'I!>=--___, Register's Office for Sumner County, Tennessee.
Carlyn R. Williams, wife of John R. Williams, joins in the conveyance for the purpose of conveying any interest,
marital or otherwise, she may have in said property.




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